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IN THE UNITED STATES DISTRICT COURT \5`%,}, `\ S/

FOR THE WESTERN DISTRICT OF TENNESSEE <’s 4 '\ §§
EASTERN DIVISION ,:';:;;<~.»§;‘*<>`§;» *6;.
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/;' LS-j f?)O//
k/‘L;? (Q/LS;;.~/f?
DEMUS RICH and wife, MELBA RICH, ) @/;@§f

Individually and as Executors of the Estate )

 

of GRAY BRIAN RICH, deceased, )
Plaintiff, §
VS. § No. 02-1222-T/Ph
CITY OF SAVANNAH, TENNESSEE, §
ET AL., )
Defendants. §
ORDER OF REFERENCE

 

Plaintiffs’ Motion to Exclude the Testimony of Gary Shaffer, filed May 13, 2005, and
plaintiffs’ Motion to Exclude the Testimony of Gary Vilke, M.D., filed May 19, 2005, are
hereby referred to the Honorable Tu M. Pham for disposition.

IT IS SO ORDER_ED.

b,Q»M

JA i). TODD
UNI ED STATES DISTRICT JUDGE

QV /)44104/5190$’

DATE

Thie document entered on the docket sheet ln compiiance
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UNITED STETAS DISRIC COURT - WESTE DI'S'TRICT oF ENNESSEE

   

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Honorable J ames Todd
US DISTRICT COURT

